EXHIBIT 1
    Advanced Research & Appraisal



                                          File No. 22072602




         APPRAISAL OF




          LOCATED AT:
          2 Star Island Dr
       Miami Beach, FL 33139




             CLIENT:
Tri Star Sports and Entertainment Group
      9255 Sunset Blvd., 2nd Floor
       West Hollywood, CA, 90069




              AS OF:
            June 28, 2022




                 BY:
             Orna Sarley
           Cert Res RD1541
                                       Advanced Research & Appraisal



                                                                                                   File No. 22072602




08/08/2022




Tri Star Sports and Entertainment Group
9255 Sunset Blvd., 2nd Floor
West Hollywood, CA, 90069


File Number: 22072602




In accordance with your request, I have appraised the real property at:

                                              2 Star Island Dr
                                           Miami Beach, FL 33139


The purpose of this appraisal is to develop an opinion of the defined value of the subject property, as improved.
The property rights appraised are the fee simple interest in the site and improvements.

In my opinion, the defined value of the property as of June 28, 2022                                     is:

                                                 $48,500,000
                             Forty-Eight Million Five Hundred Thousand Dollars


The attached report contains the description, analysis and supportive data for the conclusions,
final opinion of value, descriptive photographs, assignment conditions and appropriate certifications.



Respectfully submitted,




Orna Sarley
Cert Res RD1541


Donald J Sarley, ASA, IFA, SRA, Cert Res RD259 - Review Appraiser Did Inspect.
                                                                                             Advanced Research & Appraisal
                                                                                     Residential Appraisal Report                                                                               File No. 22072602
                The purpose of this appraisal report is to provide the client with a credible opinion of the defined value of the subject property, given the intended use of the appraisal.
                Client Name/Intended User Tri Star Sports and Entertainment Group                                    E-mail jwoo@team-tristar.com
PURPOSE




                Client Address 9255 Sunset Blvd., 2nd Floor                                                               City West Hollywood                                             State CA                    Zip 90069
                Additional Intended User(s) 2 West Star Island LLC

                Intended Use Net Worth Valuation


                Property Address 2 Star Island Dr                                                    City Miami Beach                                  State FL         Zip 33139
                Owner of Public Record 2 West Star Island LLC                                                                                          County Miami-Dade
SUBJECT




                Legal Description 4 54 42 PB 31-60 CORRECTED PL OF STAR ISLAND LOT 2 & 10FT STRIP LOT SIZE 58232 SQ FT OR 18586-4936 04 1999 1 OR 18586-4936 04 1999 1
                Assessor's Parcel # 02-4204-001-0020                                                 Tax Year 2021                                     R.E. Taxes $ 432,180.59
                Neighborhood Name Star Island                                                        Map Reference 54-42-04                            Census Tract 981000
                Property Rights Appraised        X Fee Simple              Leasehold         Other (describe)
                My research        did X did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                Prior Sale/Transfer:       Date 11/01/2003                            Price $14,500,000             Source(s) DCPA OR Book 21872-3313
                Analysis of prior sale or transfer history of the subject property (and comparable sales, if applicable) Most recent sale reported above. No other transfers within the
                past twenty years.
SALES HISTORY




                Offerings, options and contracts as of the effective date of the appraisal
                                                                     MatrixMLS reported no listing activity for the property that is the subject of this
                report. No known offerings, options or contracts as of the effective date of the appraisal.

                             Neighborhood Characteristics                                                One-Unit Housing Trends                                         One-Unit Housing                           Present Land Use %
                Location    Urban      X Suburban   Rural     Property Values                             Increasing              X Stable               Declining      PRICE                  AGE     One-Unit                                95 %
                Built-Up X Over 75%      25-75%     Under 25% Demand/Supply                               Shortage                X In Balance           Over Supply    $(000)                 (yrs)   2-4 Unit                                    %
                Growth      Rapid      X Stable     Slow      Marketing Time                              Under 3 mths            X 3-6 mths             Over 6 mths    1,995 Low                    0 Multi-Family                                %
                Neighborhood Boundaries See Attached Addendum                                                                                                          75,000 High                 100 Commercial                                  %
NEIGHBORHOOD




                                                                                                                                                                       30,000 Pred.                 72 Other Vacant                               5%
                Neighborhood Description See Attached Addendum




                Market Conditions (including support for the above conclusions) See Attached Addendum




                Dimensions 37.21'x248.30'x411'x254.48'x410'                         Area 58,232 Sq.Ft.                         Shape Pie shaped               View Biscayne Bay
                Specific Zoning Classification RS-1                                 Zoning Description Single Family Low Density (up to 2 du/per acre)
                Zoning Compliance        X Legal           Legal Nonconforming (Grandfathered Use)          No Zoning           Illegal (describe)
                Is the highest and best use of the subject property as improved (or as proposed per plans and specifications) the present use?     X Yes No If No, describe.

                Utilities        Public     Other (describe)                                                   Public         Other (describe)                         Off-site Improvements—Type                             Public          Private
SITE




                Electricity  X                                  Water            X                               Street Asphalt paved                 X
                Gas          X                                  Sanitary Sewer   X                               Alley None
                Site CommentsSite is level and pie shaped with 254.48 linear feet on Biscayne Bay with seawall, dock and deck. Site sides the entry road
                to the development with no measurable negative impact on the site. The subject is located on a private island community with a guard
                stationed at entry restricting access to residents and announced guests. The community has private streets and improvements. Streets
                and improvements leading to the development are public. Typical utility and maintenance easements exist with no negative impact on
                site.
                              GENERAL DESCRIPTION                                      FOUNDATION                                 EXTERIOR DESCRIPTION       materials                         INTERIOR           materials
                Units       One X One w/Acc. unit                          Concrete Slab      X Crawl Space                       Foundation Walls     Concrete Piling                         Floors        Hardwood;Tiles
                # of Stories 2                                             Full Basement        Partial Basement                  Exterior Walls       CBS                                     Walls         Plaster
                Type X Det.          Att.      S-Det./End Unit          Basement Area                        sq. ft.              Roof Surface         Tiles                                   Trim/Finish   Wood
                X Existing        Proposed        Under Const.          Basement Finish                       0%                  Gutters & Downspouts Overhang                                Bath Floor    Quary Tiles
                Design (Style) Traditional                                 Outside Entry/Exit       Sump Pump                     Window Type          Impact Glass                            Bath Wainscot Quary Tiles
                Year Built 2002                                         NA                                       Storm Sash/Insulated Yes;Yes                                                  Car Storage         None
                Effective Age (Yrs) 10                                                                           Screens              Yes                                                      X Driveway # of Cars 10
                Attic                           None                    Heating X FWA      HW            Radiant Amenities                WoodStove(s) # 0                                     Driveway Surface Brick paved
                X Drop Stair                    Stairs                     Other          Fuel Electric          X Fireplace(s) # 2     X Fence Wall;Iron                                      X Garage # of Cars 2
IMPROVEMENTS




                     Floor                      Scuttle                 Cooling X Central Air Conditioning       X Patio/Deck Brick X Porch Roofed                                                 Carport    # of Cars 0
                     Finished                   Heated                     Individual         Other None         X Pool w/Jacuzzi X Other Balcony                                              X Att.            Det.     Built-in
                Appliances     X Refrigerator X Range/Oven X Dishwasher X Disposal X Microwave X Washer/Dryer X Other (describe) Numerous appliances
                Finished area above grade contains:          17 Rooms              7 Bedrooms         7.2 Bath(s)    14,783 Square Feet of Gross Living Area Above Grade
                Additional Features Water front site with 254.48± linear feet on water on Biscayne Bay offering excellent views and boating amenities.
                Property is fenced and has an electric gate. Beyond the gate is a courtyard with ample parking. There is a swimming pool and jacuzzi,
                dock and deck, cabana structure with a bar and cooking facilities and cabana full bathroom and multiple open showers.
                Comments on the Improvements See Attached Addendum




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                                                                                                                    Page 1 of 4                                                                 (gPAR™) General Purpose Appraisal Report 3/2017
                                                                                                                                                                                                                                GPARSUM_17 03272017
                                                                                                      Advanced Research & Appraisal
                                                                                                Residential Appraisal Report                                                                                          File No. 22072602
                                    FEATURE                      SUBJECT                      COMPARABLE SALE NO. 1                                      COMPARABLE SALE NO. 2                                            COMPARABLE SALE NO. 3
                            2 Star Island Dr                                         34 Star Island Dr            8 Star Island Dr             46 Star Island Dr
                            Address Miami Beach, Fl 33139                            Miami Beach, Fl 33139        Miami Beach, Fl 33139        Miami Beach, Fl 33139
                            Proximity to Subject                                     0.18 miles NE                0.13 miles NW                0.40 miles NE
                            Sale Price                   $                                           $ 30,000,000                 $ 75,000,000                 $ 38,000,000
                            Sale Price/Gross Liv. Area   $              0.00 sq. ft. $ 4,062.84 sq. ft.                                       $ 5,072.71 sq. ft.                                               $ 2,458.43 sq. ft.
                            Data Source(s)                                           MatrixMLS #AXXXXXXXX;DOM 230                             MatrixMLS #AXXXXXXXX;DOM 122                                     MatrixMLS #AXXXXXXXX;DOM 764
                            Verification Source(s)                                   Tax Rolls/IMAPP                                          Tax Rolls/IMAPP                                                  Tax Rolls/IMAPP
                            VALUE ADJUSTMENTS                 DESCRIPTION                 DESCRIPTION                 +(-) $ Adjustment             DESCRIPTION                       +(-) $ Adjustment              DESCRIPTION                       +(-) $ Adjustment
                            Sale or Financing                                        ArmLth                                      ArmLth                                                          ArmLth
                            Concessions                                              Cash;0                                      Cash;0                                                          Cash;0
                            Date of Sale/Time                                        s01/22;c01/22                     1,200,000 s12/21;c12/21                                         3,750,000 s03/21;c02/21                                           5,700,000
                            Location                     Suburban                    Suburban                                    Suburban                                                        Suburban
                            Leasehold/Fee Simple         Fee Simple                  Fee Simple                                  Fee Simple                                                      Fee Simple
                            Site                         58,232 Sq.Ft.               40,000 Sq.Ft.                     5,469,600 80,000 Sq.Ft.                                        -6,530,400 61,301 Sq.Ft.                                             -920,700
                            View                         Biscayne Bay                Biscayne Bay                                Biscayne Bay                                                    Biscayne Bay
SALES COMPARISON APPROACH




                            Design (Style)               Modern 2 Sty                Traditional 2 Sty                         0 Traditional 2 Sty                                             0 Traditional 2 Sty                                                         0
                            Quality of Construction      Very Good                   Very Good                                   Excellent                                            -1,200,000 Very Good
                            Actual Age                   20± Yrs 10 eff              61+/- Yrs 40 eff                  3,000,000 29+/- Yrs 10 eff                                                99+/- Yrs 60 eff                                        5,000,000
                            Condition                    Very Good                   Average Good                      1,000,000 Excellent                                              -500,000 Average Good                                            1,000,000
                            Above Grade                  Total Bdrms.      Baths     Total Bdrms.     Baths                                   Total Bdrms.          Baths                                      Total Bdrms.           Baths
                            Room Count                   17
                                                          7     7.2       18 9       9.1                                 -37,500 17 9       8.3                                           -37,500 20 10     10.2                                            -75,000
                            Gross Living Area 300.00       14,783 sq. ft.        7,384 sq. ft.                         2,219,700       14,785 sq. ft.                                           0       15,457 sq. ft.                                     -202,200
                            Basement & Finished                           0sf                                                    0sf                                                              0sf
                            Rooms Below Grade        254.5' FF Water 100' FF Water                                     7,725,000 202' FF Water                                          2,625,000 252' FF Water                                              125,000
                            Functional Utility       Good                 Good                                                   Good                                                             Good
                            Heating/Cooling          Central              Central                                                Central                                                          Central
                            Energy Efficient Items   Appliances           Appliances                                             Appliances                                                       Appliances
                            Garage/Carport           2 Car Garage         3 Car Garage                                   -50,000 4 Car Garage                                            -100,000 6 Car Garage                                             -200,000
                            Porch/Patio/Deck         Patio/Deck,Porch Patio,Porch,Dock                                                        Patio,Porches,Dock                                               Patio,Porches,Dock
                                                     F/P; Elevator        F/P; Elevator                                                       F/P; Elevator                                                    F/P; Elevator
                                                         Fence,Pool,Balcony          Fence,Pool,Balcony                                       Fence,Pool/Spa,Balcony                                           Fence,Pool/Spa,Balcony
                                                                                                            Fully furnished       -1,000,000 Detached G.L.A.         Size ???
                            Net Adjustment (Total)                         X +         -  $   20,526,800         +    X -   $      2,992,900 X +           -   $   10,427,100
                            Adjusted Sale Price                          Net Adj. 68.4%                     Net Adj.  -4.0%                   Net Adj. 27.4%
                            of Comparables                               Gross Adj. 69.0% $   50,526,800 Gross Adj. 21.0% $       72,007,100 Gross Adj. 34.8% $    48,427,100
                            Summary of Sales Comparison Approach Six closed sales, an active listing and a recently expired listing are included in the appraisal analysis.
                            See additional comparables attached. See Attached Addendum For Comments.




                            Indicated Value by Sales Comparison Approach $ 48,500,000
                            COST APPROACH TO VALUE
                            Site Value Comments See Attached Addendum



                            ESTIMATED            REPRODUCTION OR    X REPLACEMENT COST NEW                                             OPINION OF SITE VALUE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . = $       36,000,000
                            Source of cost data Marshall Swift & Boeckh Cost Estimator                                                 Dwelling          14,783 Sq. Ft. @ $ 650.00. . . . . . . . . . . . = $
COST APPROACH




                                                                                                                                                                                                                                                        9,608,950
                            Quality rating from cost service 5.0           Effective date of cost data Current                                                                      Sq. Ft. @ $                        .. .. .. .. .. .. = $
                            Comments on Cost Approach (gross living area calculations, depreciation, etc.)                             pools, spa, porches, cabana, bars                                                                                2,000,000
                            Cost approach has been developed and improvements with                                                     Garage/Carport 1,793   Sq. Ft. @ $ 200.00. . . . . . . . . . . . = $                                               358,600
                            effective age estimated and depreciation with renovations and                                              Total Estimate of Cost-New                                                  . .. .. .. .. .. . = $              11,967,550
                            updates over the years. No measurable external obsolescence is                                             Less 80           Physical    Functional              External
                            noted due to location next to entry road.                                                                  Depreciation $1,495,943          $0                       $0                                       = $(          1,495,943 )
                                                                                                                                       Depreciated Cost of Improvements . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . = $            10,471,607
                                                                                                                                       "As-is" Value of Site Improvements . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . = $           2,000,000

                                                                                                                                       INDICATED VALUE BY COST APPROACH . . . . . . . . . . . . . . . . . . . . . .                       = $          48,471,600
                            INCOME APPROACH TO VALUE
INCOME




                            Estimated Monthly Market Rent $                      X Gross Rent Multiplier      =$                                                      Indicated Value by Income Approach
                            Summary of Income Approach (including support for market rent and GRM) Not developed

                            Methods and techniques employed:            X Sales Comparison Approach              X Cost Approach                        Income Approach                      Other:
                            Discussion of methods and techniques employed, including reason for excluding an approach to value:
                                                                                                          The sales comparison approach is developed best reflects
                            the motives of knowledgable buyers and sellers in an active market. The cost approach has been developed and is given limited
                            reliance as subject is an existing property with physical depreciation. The income approach is not developed as high end properties are
                            not typically used as rentals.
RECONCILIATION




                            Reconciliation comments: Reliance is placed on the sales comparison approach as it best reflects the motives of buyers and sellers in this
                            market. The cost approach has been developed and is a supportive indicator. The income approach has not been developed due to the
                            limited rental data in this mostly owner occupied neighborhood and this approach is not needed for credible valuation results.
                            Based on the scope of work, assumptions, limiting conditions and appraiser's certification, my (our) opinion of the defined value of the real property that is
                            the subject of this report as of  06/28/2022                                         , which is the effective date of this appraisal, is:
                             X Single point $ 48,500,000                  Range $                           to $                                 Greater than             Less than $
                            This appraisal is made X "as is,"    subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been completed,
                                 subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed                                        subject to the following:



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                                                                                                                   Appraisal Report
                                                                                                 Advanced Research & Appraisal
                                                                                             Residential Appraisal Report                                                                           File No. 22072602
                                    FEATURE                      SUBJECT                  COMPARABLE SALE NO. 4                                    COMPARABLE SALE NO. 5                                 COMPARABLE SALE NO. 6
                            2 Star Island Dr                                      13 Star Island Dr            1 Star Island Dr             276 Bal Bay Dr
                            Address Miami Beach, Fl 33139                         Miami Beach, Fl 33139        Miami Beach, Fl 33139        Bal Harbour, Fl 33154
                            Proximity to Subject                                  0.21 miles NW                0.03 miles SE                8.70 miles NE
                            Sale Price                   $                                        $ 32,500,000                 $ 35,000,000                 $  41,500,000
                            Sale Price/Gross Liv. Area   $              0.00 sq. ft. $ 2,210.28 sq. ft.                                 $ 4,381.57 sq. ft.                                   $ 4,558.44 sq. ft.
                            Data Source(s)                                           MatrixMLS #AXXXXXXXX;DOM 98                        MatrixMLS #AXXXXXXXX;DOM 238                         MatrixMLS #AXXXXXXXX;DOM 181
                            Verification Source(s)                                Tax Rolls/IMAPP                                       Tax Rolls/IMAPP                                      Tax Rolls/IMAPP
                            VALUE ADJUSTMENTS                 DESCRIPTION             DESCRIPTION                +(-) $ Adjustment            DESCRIPTION             +(-) $ Adjustment             DESCRIPTION                       +(-) $ Adjustment
                            Sale or Financing                                     ArmLth                                    ArmLth                                               ArmLth
                            Concessions                                           Cash;0                                    Conv;0                                               Cash;0
                            Date of Sale/Time                                     s08/20;c07/20                   7,150,000 s07/21;c03/21                              4,900,000 s06/22;c03/22                                              830,000
                            Location                     Suburban                 Suburban                                  Suburban                                             Suburban
                            Leasehold/Fee Simple         Fee Simple               Fee Simple                                Fee Simple                                           Fee Simple
                            Site                         58,232 Sq.Ft.            40,000 Sq.Ft.                   5,469,600 58,332 Sq.Ft.                                -30,000 46,279 Sq.Ft.                                          3,585,900
                            View                         Biscayne Bay             Biscayne Bay                              Biscayne Bay                                         Biscayne Bay
                            Design (Style)               Modern 2 Sty             Traditional 2 Sty                         Traditional 2 Sty                                    Traditional 2 Sty
                            Quality of Construction      Very Good                Very Good                                 Very Good                                            Very Good
                            Actual Age                   20± Yrs 10 eff           19+/- Yrs 10 eff                        0 82+/- Ys 50 eff                            4,000,000 45+/- Yrs 20 eff                                       1,000,000
                            Condition                    Very Good                Very Good                                 Average-Good                               1,000,000 Good                                                     500,000
                            Above Grade                  Total Bdrms.     Baths   Total Bdrms.   Baths                                  Total Bdrms.          Baths                          Total Bdrms.           Baths
                            Room Count                   17
                                                          7     7.2       18 10     10.2                            -75,000 17 6       8.2                               -25,000 18 9       10                                            -50,000
                            Gross Living Area 300.00       14,783 sq. ft.       14,704 sq. ft.                       23,700        7,988 sq. ft.                       2,038,500        9,104 sq. ft.                                   1,703,700
                            Basement & Finished                           0sf                                               0sf                                                  0sf
                            Rooms Below Grade        254.5' FF Water 98' FF Water                                 7,825,000 228.74' FF Water                           1,288,000 219' FF Water                                          1,775,000
                            Functional Utility       Good                 Good                                              Good                                                 Good
                            Heating/Cooling          Central              Central                                           Central                                              Central
                            Energy Efficient Items   Appliances           Appliances                                        Appliances                                           Appliances
                            Garage/Carport           2 Car Garage         3 Car Garage                              -50,000 3 Car Garage                                 -50,000 3 Car Garage                                                -50,000
                            Porch/Patio/Deck         Patio/Deck,Porch Patio,Porches,Dock                                                Patio/Deck,Porch                                     Patio,Porches,Dock
                                                     F/P; Elevator        F/P; Elevator                                                 F/P; None                            15,000 None; Elevator                                                        0
                                                         Fence,Pool,Balcony       Fence,Pool,Balcony                                    Fence,Pool,Balcony                                   Fence,Pool/Spa,Balcony


                            Net Adjustment (Total)                                  X +         -  $            20,343,300   X +         -  $                         13,136,500   X +         -  $                                     9,294,600
SALES COMPARISON APPROACH




                            Adjusted Sale Price                                   Net Adj. 62.6%                           Net Adj. 37.5%                                        Net Adj. 22.4%
                            of Comparables                                        Gross Adj. 63.4% $            52,843,300 Gross Adj. 38.1% $                         48,136,500 Gross Adj. 22.9% $
                                                                                                                                                                        50,794,600
                            Summary of Sales Comparison Approach          Six closed sales and two listings are included in the appraisal analysis. See additional comparables and
                            comments attached.




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                                                                                                                  Additional Comparables                                                            (gPAR™) General Purpose Appraisal Report 3/2017
                                                                                                                                                                                                                                    GPARSUM_17 03272017
                                                                                                 Advanced Research & Appraisal
                                                                                             Residential Appraisal Report                                                                           File No. 22072602
                                    FEATURE                      SUBJECT                  COMPARABLE SALE NO. 7                                    COMPARABLE SALE NO. 8                                 COMPARABLE SALE NO. 9
                            2 Star Island Dr                                      30 Palm Ave                  45 Star Island Dr
                            Address Miami Beach, Fl 33139                         Miami Beach, Fl 33139        Miami Beach, Fl 33139
                            Proximity to Subject                                  0.46 miles NW                0.06 miles SE
                            Sale Price                   $                                      $   43,000,000                 $ 28,900,000                                                                                  $
                            Sale Price/Gross Liv. Area   $              0.00 sq. ft. $ 4,479.63 sq. ft.                                 $ 2,963.19 sq. ft.                                    $                    sq. ft.
                            Data Source(s)                                           MatrixMLS #AXXXXXXXX; DOM 154                      MatrixMLS #AXXXXXXXX;DOM 341
                            Verification Source(s)                                Tax Rolls/IMAPP                                       Tax Rolls/IMAPP
                            VALUE ADJUSTMENTS                 DESCRIPTION             DESCRIPTION                +(-) $ Adjustment            DESCRIPTION             +(-) $ Adjustment             DESCRIPTION                       +(-) $ Adjustment
                            Sale or Financing                                     Listing                                   Listing
                            Concessions                                           ;0                                        ;0
                            Date of Sale/Time                                     Active                                  0 Active                                                        0
                            Location                     Suburban                 Suburban                                  Suburban
                            Leasehold/Fee Simple         Fee Simple               Fee Simple                                Fee Simple
                            Site                         58,232 Sq.Ft.            32,000 Sq.Ft.                   7,869,600 46,429 Sq.Ft.                              3,540,900
                            View                         Biscayne Bay             Biscayne Bay                              Biscayne Bay
                            Design (Style)               Modern 2 Sty             Modern 2 Sty                   -1,000,000 Traditional 2 Sty
                            Quality of Construction      Very Good                Excellent                      -1,200,000 Very Good
                            Actual Age                   20± Yrs 10 eff           9+/- Yrs 5 eff                 -1,000,000 41+/- Yrs 50 eff                           3,000,000
                            Condition                    Very Good                Very Good                                 Fair                                       2,000,000
                            Above Grade                  Total Bdrms.     Baths   Total Bdrms.   Baths                                  Total Bdrms.          Baths                           Total Bdrms.          Baths
                            Room Count                   17
                                                          7     7.2       18 9       8.1                            -12,500 18 9      10.2                               -75,000
                            Gross Living Area 300.00       14,783 sq. ft.        9,599 sq. ft.                    1,555,200        9,753 sq. ft.                       1,509,000                                        sq. ft.
                            Basement & Finished                           0sf                                               0sf
                            Rooms Below Grade        254.5' FF Water 100 FF Water                                 7,725,000 190' FF Water                              3,225,000
                            Functional Utility       Good                 Good                                              Good
                            Heating/Cooling          Central              Central                                           Central
                            Energy Efficient Items   Appliances           Appliances                                        Appliances
                            Garage/Carport           2 Car Garage         4 Car Garage                             -100,000 4 Car Garage                                 -100,000
                            Porch/Patio/Deck         Patio/Deck,Porch Patio,Porch,Dock                                                  Patio,Porch,Dock
                                                     F/P; Elevator        F/P; None                                      15,000 1 F/P; None                                  15,000
                                                         Fence,Pool,Balcony       Fence,Pool,Balcony                                    Fence,Pool,Balcony

                            Net Adjustment (Total)                                  X +         -  $            13,852,300   X +         -  $                    -   $13,114,900  0X +
SALES COMPARISON APPROACH




                            Adjusted Sale Price                                   Net Adj. 32.2%                           Net Adj. 45.4%                      0.0%              Net Adj.
                            of Comparables                                        Gross Adj. 47.6% $            56,852,300 Gross Adj. 46.6% $                  0.0% $ 42,014,900 Gross Adj.
                                                                                                                                                                                  0
                            Summary of Sales Comparison Approach          Six closed sales and two listings are included in the appraisal analysis. See additional comparables and
                            comments attached.




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                                                                                                                  Additional Comparables                                                            (gPAR™) General Purpose Appraisal Report 3/2017
                                                                                                                                                                                                                                    GPARSUM_17 03272017
                                                                         Advanced Research & Appraisal
                                                                   Residential Appraisal Report                                                                      File No. 22072602

Scope of Work, Assumptions and Limiting Conditions
Scope of work is defined in the Uniform Standards of Professional Appraisal Practice as " the type and extent of research and analyses in an
assignment." In short, scope of work is simply what the appraiser did and did not do during the course of the assignment. It includes, but is not
limited to: the extent to which the property is identified and inspected, the type and extent of data researched, the type and extent of analyses applied
to arrive at opinions or conclusions.
The scope of this appraisal and ensuing discussion in this report are specific to the needs of the client, other identified intended users and to the
intended use of the report. This report was prepared for the sole and exclusive use of the client and other identified intended users for the identified
intended use and its use by any other parties is prohibited. The appraiser is not responsible for unauthorized use of the report.
The appraiser's certification appearing in this appraisal report is subject to the following conditions and to such other specific conditions as are
set forth by the appraiser in the report. All extraordinary assumptions and hypothetical conditions are stated in the report and might have affected the
assignment results.
1. The appraiser assumes no responsibility for matters of a legal nature affecting the property appraised or title thereto, nor does the appraiser render any opinion as to the title, which is
assumed to be good and marketable. The property is appraised as though under responsible ownership.
2. Any sketch in this report may show approximate dimensions and is included only to assist the reader in visualizing the property. The appraiser has made no survey of the property.
3. The appraiser is not required to give testimony or appear in court because of having made the appraisal with reference to the property in question, unless arrangements have been
previously made thereto.
4. Neither all, nor any part of the content of this report, copy or other media thereof (including conclusions as to the property value, the identity of the appraiser, professional designations,
or the firm with which the appraiser is connected), shall be used for any purposes by anyone but the client and other intended users as identified in this report, nor shall it be conveyed by
anyone to the public through advertising, public relations, news, sales, or other media, without the written consent of the appraiser.
5. The appraiser will not disclose the contents of this appraisal report unless required by applicable law or as specified in the Uniform Standards of Professional Appraisal Practice.
6. Information, estimates, and opinions furnished to the appraiser, and contained in the report, were obtained from sources considered reliable and believed to be true and correct.
However, no responsibility for accuracy of such items furnished to the appraiser is assumed by the appraiser.
7. The appraiser assumes that there are no hidden or unapparent conditions of the property, subsoil, or structures, which would render it more or less valuable. The appraiser assumes
no responsibility for such conditions, or for engineering or testing, which might be required to discover such factors. This appraisal is not an environmental assessment of the property and
should not be considered as such.
8. The appraiser specializes in the valuation of real property and is not a home inspector, building contractor, structural engineer, or similar "expert", unless otherwise noted. The appraiser
did not conduct the intensive type of field observations of the kind intended to seek and discover property defects. The viewing of the property and any improvements is for purposes of
developing an opinion of the defined value of the property, given the intended use of this assignment. Statements regarding condition are based on surface observations only. The
appraiser claims no special expertise regarding issues including, but not limited to: foundation settlement, basement moisture problems, wood destroying (or other) insects, pest infestation,
radon gas, lead based paint, mold or environmental issues. Unless otherwise indicated, mechanical systems were not activated or tested.
This appraisal report should not be used to disclose the condition of the property as it relates to the presence/absence of defects. The client is invited and encouraged to employ qualified
experts to inspect and address areas of concern. If negative conditions are discovered, the opinion of value may be affected.
Unless otherwise noted, the appraiser assumes the components that constitute the subject property improvement(s) are fundamentally sound and in
working order.
Any viewing of the property by the appraiser was limited to readily observable areas. Unless otherwise noted, attics and crawl space areas were not accessed. The appraiser did not move
furniture, floor coverings or other items that may restrict the viewing of the property.
9. Appraisals involving hypothetical conditions related to completion of new construction, repairs or alteration are based on the assumption that such completion, alteration or repairs will
be competently performed.
10. Unless the intended use of this appraisal specifically includes issues of property insurance coverage, this appraisal should not be used for such purposes. Reproduction or
Replacement cost figures used in the cost approach are for valuation purposes only, given the intended use of the assignment. The Definition of Value used in this assignment is unlikely
to be consistent with the definition of Insurable Value for property insurance coverage/use.
11. The ACI General Purpose Appraisal Report (GPAR™) is not intended for use in transactions that require a Fannie Mae 1004/Freddie Mac 70 form,
also known as the Uniform Residential Appraisal Report (URAR).

Additional Comments Related To Scope Of Work, Assumptions and Limiting Conditions
A limited inspection of the interior was made by the appraisers and no interior photos were permitted. The appraisers viewed some of
the common rooms and were restricted from private and other interior and exterior areas. Assumptions are made pertaining to the
floor plan and room layout as the appraisers relied on information provided by the staff members and is assumed to be accurate.




                                                                           Produced using ACI software, 800.234.8727 www.aciweb.com         This form Copyright © 2005-2016 ACI, a First American Company. All Rights Reserved.
                                                                                                 Page 3 of 4                                                         (gPAR™) General Purpose Appraisal Report 3/2017
                                                                                                                                                                                                     GPARSUM_17 03272017
                                                                           Advanced Research & Appraisal
                                                                    Residential Appraisal Report                                                                        File No. 22072602

Appraiser's Certification
The appraiser(s) certifies that, to the best of the appraiser's knowledge and belief:
1. The statements of fact contained in this report are true and correct.
2. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are the appraiser's personal, impartial, and unbiased
professional analyses, opinions, and conclusions.
3. Unless otherwise stated, the appraiser has no present or prospective interest in the property that is the subject of this report and has no personal interest with respect to the parties
involved.
4. The appraiser has no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.
5. The appraiser's engagement in this assignment was not contingent upon developing or reporting predetermined results.
6. The appraiser's compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
7. The appraiser's analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice.
8. Unless otherwise noted, the appraiser has made a personal inspection of the property that is the subject of this report.
9. Unless noted below, no one provided significant real property appraisal assistance to the appraiser signing this certification. Significant real property appraisal assistance provided by:




Additional Certifications:




Definition of Value:       X Market Value      Other Value:
Source of Definition: Source of the Market Value Definition is FNMA and or FHLMC.
Market value is the most probable price which a property should bring in a competitive and open market under all conditions requisite
to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by undue stimulus.




ADDRESS OF THE PROPERTY APPRAISED:
2 Star Island Dr
Miami Beach, FL 33139
EFFECTIVE DATE OF THE APPRAISAL: 06/28/2022
APPRAISED VALUE OF THE SUBJECT PROPERTY $ 48,500,000

APPRAISER                                                                                                    SUPERVISORY APPRAISER



Signature:                                                                                                   Signature:
Name: Orna Sarley                                                                                            Name: Donald J Sarley, ASA, IFA, SRA
Company Name: Advanced Research & Appraisal                                                                  Company Name: Advanced Research & Appraisal
Company Address: 9240 S Cypress Circle                                                                       Company Address: 9240 S Cypress Circle
Miramar, FL 33025                                                                                            Miramar, FL 33025
Telephone Number: 954-465-4432                                                                               Telephone Number: 954-557-3300
Email Address: osarley@gmail.com                                                                             Email Address: dsarley@bellsouth.net
State Certification # Cert Res RD1541                                                                        State Certification # Cert Res RD259
or License #                                                                                                 or License #
 or Other (describe):                                 State #:                                               State: FL
State: FL                                                                                                    Expiration Date of Certification or License: 11/30/2022
Expiration Date of Certification or License: 11/30/2022                                                      Date of Signature:           08/09/2022
Date of Signature and Report: 08/09/2022                                                                     Date of Property Viewing: June 28, 2022
Date of Property Viewing:         June 28, 2022                                                              Degree of property viewing:
Degree of property viewing:                                                                                  X Interior and Exterior                Exterior Only    Did not personally view
X Interior and Exterior               Exterior Only              Did not personally view
                                                                            Produced using ACI software, 800.234.8727 www.aciweb.com           This form Copyright © 2005-2016 ACI, a First American Company. All Rights Reserved.
                                                                                                  Page 4 of 4                                                           (gPAR™) General Purpose Appraisal Report 3/2017
                                                                                                                                                                                                        GPARSUM_17 03272017
                                                                                       Appraisal Report
                                                                 ADDENDUM

Client: Tri Star Sports and Entertainment Group                                                     File No.: 22072602
Property Address: 2 Star Island Dr                                                                  Case No.:
City: Miami Beach                                                                      State: FL                     Zip: 33139




       Neighborhood Boundaries
       The subject is accessible via the Macarthur Causeway to the South and is an island community that is surrounded by
       Biscayne Bay. The island of Miami Beach is located to the East and mainland Miami-Dade County is to the West. The Port
       of Miami is to the South. Area boundaries are considered to be Macarthur Causeway an E/W artery; the Venetian
       Causeway to the North an E/W artery. Biscayne Bay provides additional access with water crafts.

       Neighborhood Description
       The subject is a neighborhood in the city of Miami Beach on a man-made island in Biscayne Bay, Florida. Star Island is
       famous for the residents it attracts including, celebrities, movie stars, sports stars, artists, entertainers and other wealthy
       individuals seeking luxury and privacy. This is a private community with 33 private residential site off the southern coast of
       Miami Beach. The subject is convenient to all desired amenities. The location offers convenient access to Downtown Miami,
        South Beach and the Atlantic Beaches. Downtown Miami Business and Banking district is accessible via the Macarthur
       Causeway. South Beach is located to the east offering access to recreational amenities, hotels, spas, restaurants and night
       life. Schools, shops, banks, medical facilities and recreational amenities are within easy access. Star Island is also a part of
       the Biscayne Bay Aquatic Preserve with estates situated directly on Biscayne Bay with boating amenities for water sports.

       Neighborhood Market Conditions
       Market was affected by COVID-19 and experienced increased demand affecting both pricing and marketing time. Due to the
       economic conditions interest rates recently increased in an effort to slow down inflation. This affected marketing time as
       inventory increased. Market is currently considered stable with supply and demand in balance with marketing time of 90 to
       180 days. Based on the Federal Housing Finance Agency area values increased 22% between the first quarter of 2021 and
       the first quarter of 2022. Market values increased up through May 2022 and are currently considered stable.

       Quality and Condition of Property
       The main house is a two story Modern design estate with 5 Bedrooms, 4 full bathrooms and 2 half baths, a piano room, large
       kitchen with excellent quality appliances including a 10 burner gas stove top with industrial fan hood, multiple ovens
       including a pizza oven and multiple refrigeration units; informal dining, formal living and dining rooms and family area.
       Exterior features include balconies, porches, patios, multiple swimming pools and spa, pool house with cabanas. The guest
       house has 2 Bedrooms and 3 full bathrooms, kitchen, living and dining area. The main house was built 1940 and the guest
       house with additions to the main house were made in 1995. The estate is fenced with electric gates and has 254.5± linear
       feet on water with ability to store water crafts and easily navigate to open waters. The overall condition of the improvements
       is considered good with adequate maintenance over the years. Physical depreciation is due to age with normal wear and
       tear and the elements due to proximity to salt water. The appraisers made a limited inspection of the exterior and interior; the
       common areas were available for viewing and no interior photos were permitted. Assumptions are made as to the room
       count, finishes and condition of the areas that were not available for viewing. The floor plan that has been generated with
       interior room layout is partly based on the staff description and assumptions are made that the layout on the sketch is
       accurate.

       Comments on Sales Comparison
       Six closed sales, one active listing and one recently expired listing were included in the appraisal analysis.

       Sale 1 is the most recent sale on Star Island that is a smaller estate home with a smaller site and less water front; home is
       older and in inferior condition. High individual, net and gross adjustments are due to the smaller site with inferior water front.

       Sale 2 is a recent sale on Star Island of a slightly older estate home that is similar in size and situated on a larger site with
       less water front. This property is superior in quality and condition and was sold fully furnished turnkey including personal
       property.

       Sale 3 is a slightly more dated sale of an estate home that is similar in size and quality; property is older and inferior in
       condition and is situated on a similar site with similar water front. High individual and gross adjustments to sale 3 are due to
       the time of sale and age difference.

       Sale 4 is a dated sale on Star Island that is similar in size and age; situated on a smaller site with less water front. Sale has
       high individual, net and gross adjustments due to time of sale and smaller site with less water front.

       Sale 5 is a dated sale situated next to the subject and is older, smaller and inferior in condition with similar site size and
       slightly less water frontage. The high individual and net adjustments are due to the time of sale, age and GLA size
       differences.

       Sale 6 is a recent sale from a greater than desired distance on Bal Harbour Island a gated secured community of water front
       estate homes that is smaller and has slightly smaller site with less water front. This sale is located at a greater distance and
       is included as it offers many amenities that are similar to Star Island and is equally desirable.

       Listing 7 is located on a secured island and is a larger newer home on smaller site with less water front. This sale is included
       due to the lack of active offerings on Star Island.

       Listing 8 is an expired listing on Star Island that was listed for sale as improved and as a vacant site. Property is situated on
       a smaller site with less water front. This expired listing is included as it was active on the effective date of the appraisal and
       has since expired. This property was originally listed 06/13/2021 priced $34,000; relisted 08/19/2021 priced $33,900,000;
       listing expired 08/07/2022.

       Most reliance is placed on Sale 3 as it has the most similar site size and 4 being the most similar in size and age. Sale 2 is a
       recent sale that was sold with personal property and sales 1, 5 are smaller homes and sale 6 is smaller and more distant.
       Sales 1, 2 and 5 are given secondary reliance and considered supportive indicators. Sale 6 is included due to being a recent
       sale and considered a supportive indicator. Listing comparables 7 and 8 are included to show current offerings and given
       reliance as they are not closed transactions. Expired listing 8 is considered supportive of subject site value.

       Sales are adjusted for time of sale at 1% per month up thru May 2022 as the market stabilized there after.




                                                                Addendum Page 1 of 2
                                                                 ADDENDUM

Client: Tri Star Sports and Entertainment Group                                                    File No.: 22072602
Property Address: 2 Star Island Dr                                                                 Case No.:
City: Miami Beach                                                                      State: FL                    Zip: 33139




       Sales are adjusted for site size differences at $300 per square foot.
       Sales are adjusted for water front feet at $50,000 per linear foot.
       Sales are adjusted for age based on estimated effective age at $100,000 per year.
       Sales are adjusted for condition at $500,000 and $1,000,000 increments.
       Sales are adjusted for bathrooms at $25,000 per full bath and $12,500 per half bath.
       Sales are adjusted for GLA size at $300 per sf.
       Sales are adjusted for garage space at $50,000.
       Sales are adjusted for having an Elevator $15,000.
       Sales that were sold furnished, turnkey with personal property adjusted $1,000,000.
       Quality difference adjusted at $1,200,000.
       No adjustments made for bedroom utility as the size differences of the comparables account for the room count differences.
       The applied adjustments are for contributory value not actual cost that may be greater. Condition differences and effective
       age are supported by MLS comments and photos.

       The use of dated sales, sales with higher than desired adjustments and sales that are more distant than desired is
       unavoidable. The comparables selected are the best and most similar sales to have transpired within the past two years. No
       other more similar, more current or more proximate sales were found for comparison.

       Support for the Opinion of Site Value
       Vacant Site Sales:

       28 Star Island Drive - 40,000 sf site with 100 linear feet - sold 12/15/2020 $13,300,000 - x 1.17 Time = $15,561,000
       Plus $5,469,600 (size) + $7,725,000 (waterfront) = $28,755,600

       11 Star Island Drive - 80,000 sf site with 200 linear feet - sold 08/19/2020 $37,000,000 - x 1.21 Time = $44,770,000
       Minus $6,530,400 (size) + Plus $2,725,000 (waterfront) = $40,964,600

       10 Star Island Drive - 40,000 sf site with 100 linear feet - sold 11/20/2020 $25,000,000 - x 1.18 Time = $29,500,000
       Plus $5,469,600 (size) + $7,725,000 (waterfront) = = $42,599,600

       2 Indian Creek Island Rd - 80,000 sf site with 200 linear feet sold 04/09/2021 $37,000,000 - x 1.13 Time = $41,810,000
       Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $37,379,600

       37 Indian Creek Island Rd - 53,696 sf site with 134 linear feet - sold 07/02/2021 $23,750,000 - x 1.10 Time = $26,125,000
       Plus $1,360,800 (size) + Plus $6,250,000 (waterfront) = $33,735,800

       7 Indian Creek Island Rd - 80,000 sf site with 200 linear feet - sold 11/20/2020 $30,000,000 - 1.18 Time = $35,400,000
       Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $30,969,000

       4 Indian Creek Island Rd - 80,000 sf site with 200 linear feet - sold 12/27/2020 $32,179,413 - x 1.17 Time = $37,649,000
       Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $33,219,913

       All of the site sales are similar in location and amenities on secured islands with security for residents looking for privacy with
       water front sites offering boating facilities for large yachts.

       Time of sale difference applied at 1% per month up through May 2022 when market stabilized.
       Site size differences adjusted at $300 per sf.
       Linear feet on water adjusted at $50,000.

       The above site sales provide an adjusted indicated value range from a low end of $28,755,600 to high end of $42,599,600.

       The most recent sales support an indicated value of $36,000,000 for the vacant site.




                                                                Addendum Page 2 of 2
                                         SUBJECT PROPERTY PHOTO ADDENDUM
Client: Tri Star Sports and Entertainment Group                            File No.: 22072602
Property Address: 2 Star Island Dr                                         Case No.:
City: Miami Beach                                              State: FL                  Zip: 33139




                                                                            FRONT VIEW OF
                                                                            SUBJECT PROPERTY

                                                                            Appraised Date: June 28, 2022
                                                                            Appraised Value: $ 48,500,000




                                                                            REAR VIEW OF
                                                                            SUBJECT PROPERTY




                                                                            STREET SCENE
                                                              Subject Photos
Client: Tri Star Sports and Entertainment Group                                                                File No.: 22072602
Property Address: 2 Star Island Dr                                                                             Case No.:
City: Miami Beach                                                                                  State: FL                  Zip: 33139




Main residence front view                                                            Main residence rear view




Main residence side view                                                             Front guest house




Front guest house side view with stairs                                              Front guest house first floor entry

                                                  Produced using ACI software, 800.234.8727 www.aciweb.com                                 PHT6
                                                              Subject Photos
Client: Tri Star Sports and Entertainment Group                                                                File No.: 22072602
Property Address: 2 Star Island Dr                                                                             Case No.:
City: Miami Beach                                                                                  State: FL                  Zip: 33139




Covered areas                                                                        Natural roofs on exterior buildings




Natural roofs on exterior buildings                                                  Side view guest house and lush landscaping




Wadding pool                                                                         Large pool

                                                  Produced using ACI software, 800.234.8727 www.aciweb.com                                 PHT6
                                                              Subject Photos
Client: Tri Star Sports and Entertainment Group                                                                File No.: 22072602
Property Address: 2 Star Island Dr                                                                             Case No.:
City: Miami Beach                                                                                  State: FL                  Zip: 33139




Site and amenities                                                                   Natural roofs on exterior buildings




Rear of main house with pools and amenities                                          Dock, deck, seawall




View                                                                                 Dock, deck, seawall

                                                  Produced using ACI software, 800.234.8727 www.aciweb.com                                 PHT6
                                       COMPARABLE PROPERTY PHOTO ADDENDUM
Client: Tri Star Sports and Entertainment Group                          File No.: 22072602
Property Address: 2 Star Island Dr                                       Case No.:
City: Miami Beach                                              State: FL                Zip: 33139




                                                                             COMPARABLE SALE #1


                                                                             34 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: s01/22;c01/22
                                                                             Sale Price: $ 30,000,000




                                                                             COMPARABLE SALE #2


                                                                             8 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: s12/21;c12/21
                                                                             Sale Price: $ 75,000,000




                                                                             COMPARABLE SALE #3


                                                                             46 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: s03/21;c02/21
                                                                             Sale Price: $ 38,000,000
                                       COMPARABLE PROPERTY PHOTO ADDENDUM
Client: Tri Star Sports and Entertainment Group                          File No.: 22072602
Property Address: 2 Star Island Dr                                       Case No.:
City: Miami Beach                                              State: FL                Zip: 33139




                                                                             COMPARABLE SALE #4


                                                                             13 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: s08/20;c07/20
                                                                             Sale Price: $ 32,500,000




                                                                             COMPARABLE SALE #5


                                                                             1 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: s07/21;c03/21
                                                                             Sale Price: $ 35,000,000




                                                                             COMPARABLE SALE #6


                                                                             276 Bal Bay Dr
                                                                             Bal Harbour, Fl 33154
                                                                             Sale Date: s06/22;c03/22
                                                                             Sale Price: $ 41,500,000
                                       COMPARABLE PROPERTY PHOTO ADDENDUM
Client: Tri Star Sports and Entertainment Group                          File No.: 22072602
Property Address: 2 Star Island Dr                                       Case No.:
City: Miami Beach                                              State: FL                Zip: 33139




                                                                             COMPARABLE SALE #7


                                                                             30 Palm Ave
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: Active
                                                                             Sale Price: $ 43,000,000




                                                                             COMPARABLE SALE #8


                                                                             45 Star Island Dr
                                                                             Miami Beach, Fl 33139
                                                                             Sale Date: Active
                                                                             Sale Price: $ 28,900,000




                                                                             COMPARABLE SALE #9




                                                                             Sale Date:
                                                                             Sale Price: $
                                                  FLOORPLAN SKETCH
Client: Tri Star Sports and Entertainment Group                             File No.: 22072602
Property Address: 2 Star Island Dr                                          Case No.:
City: Miami Beach                                               State: FL                  Zip: 33139
                                                        DIMENSION LIST ADDENDUM
Client: Tri Star Sports and Entertainment Group                                                                              File No.: 22072602
Property Address: 2 Star Island Dr                                                                                           Case No.:
City: Miami Beach                                                                                            State: FL                      Zip: 33139



                                          GROSS BUILDING AREA (GBA)                                                      14,783
                                          GROSS LIVING AREA (GLA)                                                        14,783
                                          Area(s)                                 Area                     % of GLA    % of GBA

                                          Living                                      14,783                             100.00
                                          Level 1                                      8,540                  57.77       57.77
                                          Level 2                                      6,243                  42.23       42.23
                                          Level 3                                          0                   0.00        0.00
                                          Other                                            0                   0.00        0.00
                                                            GBA
                                          Basement
                                          Garage                                        1,793
                                          Other                                         1,341



                                Area Measurements                                                                      Area Type
                 Measurements                  Factor              Total                Level 1 Level 2 Level 3               Other   Bsmt.   Garage

                     1.00   x     12.00    x    1.00    =            12.00                                    X
                     3.00   x     24.00    x    1.00    =            72.00                                    X
                     1.00   x     51.00    x    1.00    =            51.00                                    X
                    17.80   x     49.60    x    1.00    =           882.89                                    X
                    27.10   x     86.00    x    1.00    =         2,330.61                                    X
                    11.00   x      9.70    x    1.00    =           106.70                                    X
                    51.70   x     44.00    x    1.00    =         2,274.81                                    X
                    49.80   x     23.30    x    0.44    =           512.60                                    X
                    14.10   x     12.50    x    1.00    =           176.25                   X
                     1.50   x     13.90    x    1.00    =            20.85                   X
                    17.80   x     55.80    x    1.00    =           993.24                   X
                     2.60   x     25.90    x    1.00    =            67.34                   X
                    27.10   x     89.60    x    1.00    =         2,428.16                   X
                    14.60   x     18.70    x    1.00    =           273.02                   X
                    51.70   x     44.00    x    1.00    =         2,274.80                   X
                    49.80   x     23.30    x    0.44    =           512.60                   X
                     4.90   x      5.60    x    1.00    =            27.30                                                                      X
                    20.50   x     15.00    x    1.00    =           307.07                                                                      X
                    40.00   x     19.70    x    1.00    =           786.84                                                                      X
                    13.40   x      7.10    x    1.00    =            94.75                                                                      X
                     9.80   x      4.60    x    0.50    =            22.32                                                                      X
                    11.70   x     10.50    x    0.50    =            61.60                                                                      X
                    15.40   x     26.40    x    0.33    =           134.90                                                                      X
                    33.90   x     39.20    x    0.25    =           333.71                                                                      X
                     7.10   x     10.00    x    0.35    =            25.00                                                                      X
                     4.90   x      5.60    x    1.00    =            27.30                   X
                    20.50   x     15.00    x    1.00    =           307.07                   X
                    40.00   x     19.70    x    1.00    =           786.84                   X
                    13.40   x      7.10    x    1.00    =            94.75                   X
                     9.80   x      4.60    x    0.50    =            22.32                   X
                    11.70   x     10.50    x    0.50    =            61.60                   X
                    15.40   x     26.40    x    0.33    =           134.90                   X
                    33.90   x     39.20    x    0.25    =           333.71                   X
                     7.10   x     10.00    x    0.35    =            25.00                   X
                            x              x            =
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                                                  PLAT MAP
Client: Tri Star Sports and Entertainment Group                          File No.: 22072602
Property Address: 2 Star Island Dr                                       Case No.:
City: Miami Beach                                            State: FL                  Zip: 33139
                                                  LOCATION MAP
Client: Tri Star Sports and Entertainment Group                              File No.: 22072602
Property Address: 2 Star Island Dr                                           Case No.:
City: Miami Beach                                                State: FL                  Zip: 33139
                                                  AERIAL MAP
Client: Tri Star Sports and Entertainment Group                            File No.: 22072602
Property Address: 2 Star Island Dr                                         Case No.:
City: Miami Beach                                              State: FL                  Zip: 33139
                                                                        Market Conditions Addendum to the Appraisal Report                                                                     File No. 22072602

                             The purpose of this addendum is to provide the lender/client with a clear and accurate understanding of the market trends and conditions prevalent in the subject neighborhood. This is a required
                             addendum for all appraisal reports with an effective date on or after April 1, 2009.
                             Property Address 2 Star Island Dr                                                              City Miami Beach                                      State FL       Zip Code 33139
                             Borrower 2 West Star Island LLC
                             Instructions: The appraiser must use the information required on this form as the basis for his/her conclusions, and must provide support for those conclusions, regarding housing trends and
                             overall market conditions as reported in the Neighborhood section of the appraisal report form. The appraiser must fill in all the information to the extent it is available and reliable and must provide
                             analysis as indicated below. If any required data is unavailable or is considered unreliable, the appraiser must provide an explanation. It is recognized that not all data sources will be able to
                             provide data for the shaded areas below; if it is available, however, the appraiser must include the data in the analysis. If data sources provide the required information as an average instead of the
                             median, the appraiser should report the available figure and identify it as an average. Sales and listings must be properties that compete with the subject property, determined by applying the criteria
                             that would be used by a prospective buyer of the subject property. The appraiser must explain any anomalies in the data, such as seasonal markets, new construction, foreclosures, etc.
                             Inventory Analysis                                                   Prior 7-12 Months      Prior 4-6 Months      Current - 3 Months                              Overall Trend
                             Total # of Comparable Sales (Settled)                                        43                    16                    13                  Increasing             Stable           X Declining
                             Absorption Rate (Total Sales/Months)                                        7.17                 5.33                   4.33                 Increasing             Stable           X Declining
                             Total # of Comparable Active Listings                                        39                    41                    45                  Declining              Stable           X Increasing
                             Months of Housing Supply (Total Listings/Ab.Rate)                          5.44                       7.69                        10.39            Declining         Stable             X Increasing
                             Median Sale & List Price, DOM, Sale/List %                           Prior 7-12 Months          Prior 4-6 Months           Current - 3 Months                     Overall Trend
                             Median Comparable Sale Price                                            12,250,000              10,425,000                   13,600,000            Increasing    X Stable                 Declining
                             Median Comparable Sales Days on Market                                      71                      67                           68                Declining     X Stable                 Increasing
                             Median Comparable List Price                                                                                                                       Increasing      Stable               X Declining
MARKET RESEARCH & ANALYSIS




                                                                                                     21,500,000              16,999,000                   16,500,000
                             Median Comparable Listings Days on Market                                   203                     155                          116            X Declining        Stable                    Increasing
                             Median Sale Price as % of List Price                                      91.42%                  93.71%                       97.14%           X Increasing       Stable                    Declining
                             Seller-(developer, builder, etc.)paid financial assistance prevalent?        Yes        X No                                                       Declining     X Stable                    Increasing
                             Explain in detail the seller concessions trends for the past 12 months (e.g., seller contributions increased from 3% to 5%, increasing use of buydowns, closing costs, condo fees, options, etc.).
                             MatrixMLS reported 3 sales had closed in the past year from the defined market with seller contributions that were last than 1%. Based
                             on data seller contributions are not common or needed in this market.




                             Are foreclosure sales (REO sales) a factor in the market?
                                                                        Yes   X No If yes, explain (including the trends in listings and sales of foreclosed properties).
                             MatrixMLS reported NO REO or SHORT SALES had closed in the past year from the defined market and NO ACTIVE REO or SHORT
                             SALE LISTINGS reported as of the effective date of the appraisal report.




                             Cite data sources for above information. MatrixMLS was used for current and historic sales and listings data of residential properties located in
                             Miami-Beach on Bay Front Sites.

                             Summarize the above information as support for your conclusions in the Neighborhood section of the appraisal report form. If you used any additional information, such as an analysis of
                             pending sales and/or expired and withdrawn listings, to formulate your conclusions, provide both an explanation and support for your conclusions.
                             For the purpose of this report analysis a trend is defined as two or more consecutive quarters of statistical movement in the same
                             direction. Area values were increasing up thru May 2022 as interest rates increased. Market is currently stabilizing. The total number of
                             settled sales and the absorption rate declined. The total number o9f active listings and months of housing supply increased. The
                             median sales price fluctuated and is reported as stable. The median listing price declined slightly. The days on market for well priced
                             listings has been within 90 days or less but can take longer for the higher priced properties. The list to sale ratio increased. Overall this
                             market appears to be stabilizing and current supply is considered to be in balance with current demand.


                             If the subject is a unit in a condominium or cooperative project , complete the following:                                                               Project Name:
                             Subject Project Data                                                 Prior 7-12 Months          Prior 4-6 Months           Current - 3 Months                        Overall Trend
                             Total # of Comparable Sales (Settled)                                                                                                         Increasing              Stable                 Declining
                             Absorption Rate (Total Sales/Months)                                                                                                          Increasing              Stable                 Declining
                             Total # of Active Comparable Listings                                                                                                         Declining               Stable                 Increasing
                             Months of Unit Supply (Total Listings/Ab. Rate)                                                                                               Declining               Stable                 Increasing
                             Are foreclosure sales (REO sales) a factor in the project?         Yes          No       If yes, indicate the number of REO listings and explain the trends in listings and sales of foreclosed properties.
CONDO / CO-OP PROJECTS




                             Summarize the above trends and address the impact on the subject unit and project.




                                APPRAISER                                                                                                     SUPERVISORY APPRAISER (ONLY IF REQUIRED)


                                Signature                                                                                                     Signature
APPRAISER




                                Name Orna Sarley                                                                                              Name Donald J Sarley, ASA, IFA, SRA
                                Company Name Advanced Research & Appraisal                                                                    Company Name Advanced Research & Appraisal
                                Company Address 9240 S Cypress Circle                                                                         Company Address 9240 S Cypress Circle
                                Miramar, FL 33025                                                                                             Miramar, FL 33025
                                State License/Certification # Cert Res RD1541 State FL                                                        State License/Certification # Cert Res RD259 State FL
                                Email Address osarley@gmail.com                                                                               Email Address dsarley@bellsouth.net
Freddie Mac Form 71 March 2009                                                                            Produced using ACI software, 800.234.8727 www.aciweb.com                                         Fannie Mae Form 1004MC March 2009
                                                                                                                                Page 1 of 1                                                                               1004MC_2009 090909
                                                                 ADDENDUM

Client: Tri Star Sports and Entertainment Group                                                    File No.: 22072602
Property Address: 2 Star Island Dr                                                                 Case No.:
City: Miami Beach                                                                      State: FL                    Zip: 33139




       Market Analysis Comments
       The number of sales considered to be "comparable" to the subject that are located within the subject's market area may be
       too small to be statistically significant and no reliable trends may be identified from limited data. To profess to identify trends
       based on small data pool can lead to misleading interpretation, analysis and conclusions a violation of the Conduct Section
       of the Ethics Rule of USPAP. At times the defined area has to be expanded to provide an adequate number of area sales
       and may exceed the defined neighborhood area boundaries. Based on Fannie Mae's FAQ's when there is limited data that
       is statistically meaningful no weight should be attributed to the Overall Trend boxes checked on the 1004MC or to the
       conclusion of the market trends reported on page 1 of the URAR. Additionally, the number of "comparable sales and listings"
       reported on page 2 of the URAR may not always be the same as the numbers reported on the 1004MC and is most likely
       due to the different criteria used in generating the statistical reports. The reported number of competing listings reported on
       page 2 may not always equal the total number of listings reported on the 1004MC as this data also includes sales that have
       closed, expired, were cancelled, etc., while the number of listings reported on page 2 of the URAR includes only properties
       that are "comparable" and available as of the effective date of the appraisal.

       Local area values experienced a decline in towards the end of 2006 and early 2007; the decline continued thru 2010.
       Between 2011 thru the current date market conditions stabilized and various periods of stability with some small increased
       were observed; currently market conditions appear stable and are projected to remain stable. Currently there is a 10.4+-
       month’s supply of housing inventory. Sellers are receiving approximately 97% of list price as of the most recent quarterly
       data. Seller concessions although not prevalent or needed in this market. Sales of these type properties are usually all cash
       transactions and current increase in interest rates will not have an affect on the high end market.

       The World Health Organization declared the Novel Coronavirus (COVID-19) a global pandemic March 11, 2020. The
       influence COVID-19 has, and will have, on capital markets, real estate in general, and the asset / subject property being
       analyzed is currently unknown and will largely depend on the scale and duration of the outbreak. Under these current
       conditions, it is particularly difficult to quantify and assess the influence on market value(s). Importantly, the appraisal is
       based on the information available as of the current effective date of valuation. Changes in the physical status of the subject
       property, income and expenses, investment criteria, availability of financing, and overall market conditions may change
       rapidly and materially for the foreseeable future, and perhaps much longer.
       * The uncertainties around the effects of the COVID-19 pandemic on Real Estate created very dynamic and changeable
       market conditions that may vary between markets. Market uncertainty may well have an effect on property values and
       property use, utility, occupancy, marketability, income-producing capacity and marketing times going forward. The client may
       consider having the property re-appraised once market conditions have stabilized and the current levels of uncertainty have
       abated.

       Federal Housing Finance Agency reports area values increased 22% between the first quarter of 2021 and the first quarter
       of 2022. With the recent interest rate increase the market appears to stabilize after May 2022.




                                                                Addendum Page 1 of 1
                                                                                                                                                  File No. 22072602
                                                                        USPAP ADDENDUM
Borrower: 2 West Star Island LLC
Property Address: 2 Star Island Dr
City:     Miami Beach                           County: Miami-Dade                                                                State: FL      Zip Code: 33139
Lender/Client: Tri Star Sports and Entertainment Group


APPRAISAL AND REPORT IDENTIFICATION
This appraisal report is one of the following types:
  X Appraisal Report                       This report was prepared in accordance with the requirements of the Appraisal Report option of USPAP Standards Rule 2-2(a).
      Restricted Appraisal Report          This report was prepared in accordance with the requirements of the Restricted Appraisal Report option of USPAP Standards Rule 2-2(b).
                                            The intended user of this report is limited to the identified client. This is a Restricted Appraisal Report and the rationale for how the
                                            appraiser arrived at the opinions and conclusions set forth in the report may not be understood properly without the additional
                                            information in the appraiser's workfile.




ADDITIONAL CERTIFICATIONS
I certify that, to the best of my knowledge and belief:
  . The statements of fact contained in this report are true and correct.
  . The report analyses, opinions, and conclusions are limited only by the reported assumptions and are my personal, impartial, and unbiased professional
    analyses, opinions, and conclusions.
  . I have no (or the specified) present or prospective interest in the property that is the subject of this report and no (or specified) personal interest with respect to
    the parties involved.
  . I have no bias with respect to the property or the parties involved with this assignment.
  . My engagement in this assignment was not contingent upon developing or reporting predetermined results.
  . My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors
    the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
    intended use of this appraisal.
  . My analyses, opinions, and conclusions were developed and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal
    Practice.
  . This appraisal report was prepared in accordance with the requirements of Title XI of FIRREA and any implementing regulations.

PRIOR SERVICES
   X I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year period
     immediately preceding acceptance of this assignment.
     I HAVE performed services, as an appraiser or in another capacity, regarding the property that is subject of this report within the three-year period
     immediately preceding acceptance of this assignment. Those services are described in the comments below.


PROPERTY INSPECTION
     I have NOT made a personal inspection of the property that is the subject of this report.
   X I HAVE made a personal inspection of the property that is the subject of this report.


APPRAISAL ASSISTANCE
Unless otherwise noted, no one provided significant real property appraisal assistance to the person signing this certification. If anyone did provide significant
assistance, they are hereby identified along with a summary of the extent of the assistance provided in the report.
None




ADDITIONAL COMMENTS
Additional USPAP related issues requiring disclosure and/or any state mandated requirements:
See Attached Addendum




MARKETING TIME AND EXPOSURE TIME FOR THE SUBJECT PROPERTY
   X A reasonable marketing time for the subject property is 180-365+                    day(s) utilizing market conditions pertinent to the appraisal assignment.
   X A reasonable exposure time for the subject property is 180-365+                     day(s).


  APPRAISER:                                                                                           SUPERVISORY APPRAISER (only if required):



  Signature:                                                                                           Signature:
  Name: Orna Sarley                                                                                    Name: Donald J Sarley, ASA, IFA, SRA
  Date Signed: 08/09/2022                                                                              Date Signed: 08/09/2022
  State Certification #: Cert Res RD1541                                                               State Certification #: Cert Res RD259
  or State License #:                                                                                  or State License #:
  or Other (describe):                          State #:                                               State: FL
  State: FL                                                                                            Expiration Date of Certification or License: 11/30/2022
  Expiration Date of Certification or License: 11/30/2022                                              Supervisory Appraiser inspection of Subject Property:
  Effective Date of Appraisal: June 28, 2022                                                               Did Not            Exterior-only from street X Interior and Exterior

                                                                       Produced using ACI software, 800.234.8727 www.aciweb.com                                              USPAP_14GP 05042020
                                                               ADDENDUM

Client: Tri Star Sports and Entertainment Group                                                  File No.: 22072602
Property Address: 2 Star Island Dr                                                               Case No.:
City: Miami Beach                                                                    State: FL                    Zip: 33139




       Additional Comments
       Clarification of Intended Use and Intended User:

       The Intended User of this appraisal report is the Named Clients 'Tri Star Sports and Entertainment Group and 2 West Star
       Island LLC'. The Intended Use is to evaluate the property that is the subject of this appraisal for Net Worth Valuation, subject
       to the stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report form, and Definition of
       Market Value. No additional Intended Users are identified by the appraiser.

       Source of the Market Value Definition is FNMA and or FHLMC.
       Highest and Best Use is determined based on the legal use per zoning and referenced to surrounding uses on similar sites.
       Highest and best use is based on area surrounding like uses in this zoning classification in this neighborhood.
       Highest and best use is defined as "the reasonably probable and legal use of vacant land or an improved property, which is
       physically possible, appropriately supported, financially feasible, and that results in the highest value."*
       *The Dictionary of Real Estate Appraisal, 4th Edition, pg. 93

       A limited inspection of the interior was made by the appraisers and no interior photos were permitted. The appraisers viewed
       some of the common rooms and were restricted from private and other interior and exterior areas. Assumptions are made
       pertaining to the floor plan and room layout as the appraisers relied on information provided by the staff members and is
       assumed to be accurate.




                                                              Addendum Page 1 of 1
                                          Appraiser Independence Certification                                                    File No.: 22072602

Borrower:           2 West Star Island LLC
Property Address:   2 Star Island Dr
City:               Miami Beach                    County: Miami-Dade                                                 State: FL   Zip Code: 33139
Lender/Client:      Tri Star Sports and Entertainment Group


 I do hereby certify, I have followed the appraiser independence safeguards in compliance with Appraisal Independence and any applicable
 state laws I may be required to comply with. This includes but is not limited to the following:
         I am currently licensed and/or certified by the state in which the property to be appraised is located. My license is the appropriate
         license for the appraisal assignment(s) and is reflected on the appraisal report.
         I certify that there have been no sanctions against me for any reason that would impair my ability to perform appraisals pursuant to
         the required guidelines.


 I assert that no employee, director, officer, or agent of the Lender/Client, or any other third party acting as joint venture partner, independent
 contractor, appraisal company, appraisal management company, or partner on behalf of the Lender/Client, influenced or attempted to
 influence the development, reporting, result, or review of the appraisal through coercion, extortion, collusion, compensation, inducement,
 intimidation, bribery, or in any other manner.
 I further assert that the Lender/Client has never participated in any of the following prohibited behavior in our business relationship:
      1. Withholding or threatening to withhold timely payment or partial payment for the appraisal report;
      2. Withholding or threatening to withhold future business, or demoting or terminating, or threatening to demote or terminate my services;
      3. Expressly or implicitly promising future business, promotions, or increased compensation for my services;
      4. Conditioning the ordering of the appraisal report or the payment of the appraisal fee or salary or bonus on my opinion, conclusion or
         valuation reached, or on a preliminary value estimate requested;
      5. Requesting an estimated, predetermined, or desired valuation in the appraisal report, prior to the completion of the appraisal report,
         or requesting estimated values or comparable sales at any time prior to the completion of the appraisal report;
      6. Providing an anticipated, estimated, encouraged or desired value for the subject property, or a proposed or target amount to be loaned
         to the Borrower, except that a copy of the sales contract may have been provided if the assignment was for a purchase transaction;
      7. Providing stock or other financial or non-financial benefits to me or any entity or person related to me, my appraisal or appraisal
         management company, if applicable;
      8. Any other act or practice that impairs or attempts to impair my independence, objectivity or impartiality, or violates law or regulation,
         including but not limited to, the Truth in Lending Act (TILA) and Regulation Z, or the Uniform Standards of Professional Appraisal
         Practice (USPAP).


 Additional Comments:




 APPRAISER:                                                                              SUPERVISORY APPRAISER (only if required):


 Signature:                                                                              Signature:
 Name:            Orna Sarley                                                            Name:            Donald J Sarley, ASA, IFA, SRA
 Date Signed: 08/09/2022                                                                 Date Signed: 08/09/2022
 State Certification #: Cert Res RD1541                                                  State Certification #: Cert Res RD259
 or State License #:                                                                     or State License #:
 or Other (describe):                          State #:                                  State:           FL
 State:           FL                                                                     Expiration Date of Certification or License: 11/30/2022
 Expiration Date of Certification or License: 11/30/2022

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                                                                       Appraisal Report
                                                  Appraiser License
Client: Tri Star Sports and Entertainment Group                                   File No.: 22072602
Property Address: 2 Star Island Dr                                                Case No.:
City: Miami Beach                                                     State: FL                  Zip: 33139
                                                  Appraiser License
Client: Tri Star Sports and Entertainment Group                                   File No.: 22072602
Property Address: 2 Star Island Dr                                                Case No.:
City: Miami Beach                                                     State: FL                  Zip: 33139
